                                                                                                              Form:defch7

                                   UNITED STATES BANKRUPTCY COURT
                                         Eastern District of Michigan
                                           226 West Second Street
                                               Flint, MI 48502


                                             Case No.: 18−30528−dof
                                                   Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Marsha E. Crookshank                                   Clifford C. Crookshank
   329 S. Highlander way Apt. 23                          329 S. Highlander way Apt. 23
   Howell, MI 48843                                       Howell, MI 48843
Social Security No.:
   xxx−xx−9061                                            xxx−xx−2493
Employer's Tax I.D. No.:


                                     NOTICE OF MISSING DOCUMENTS

To the Debtor(s) and Debtor(s) attorney:

Notice is hereby given that the following documents(s) must be submitted on the most current official form as
mandated by the Judicial Conference of the United States within 14 days from the date the bankruptcy petition was
filed:

     Application for Individuals to Pay the Filing             Schedule E/F
     Fee in Installments
     Bankruptcy Petition Preparers Notice,                     Schedule G
     Declaration and Signature
     Chapter 7 Statement of Your Current Monthly               Schedule H
     Income Form 122A−1
     Credit Counseling Certificate                             Schedule I
     Credit Counseling Certificate − Joint Debtor              Schedule J
     Declaration About an Individual Debtor(s)                 Schedule J−2
     Schedules
     Declaration under Penalty of Perjury for                  Schedule A−J
     Non−Individual Debtors
     Declaration under Penalty of Perjury for                  Statement of Attorney for Debtor(s) Pursuant
     Debtor(s) without an Attorney                             to F.R.Bankr.P.2016(b)
     Initial Statement About an Eviction Judgment              Statement of Financial Affairs
     Against You
     Schedule A/B                                              Statement Regarding Authority to Sign and
                                                               File Petition (Business Only)
     Schedule C − Debtor                                       Summary of Assets and Liabilities
     Schedule C − Joint Debtor                                 Tax ID
     Schedule D
The missing document(s) must be filed on or before 3/22/18.

THIS IS THE ONLY NOTICE YOU WILL RECEIVE: If you fail to timely comply with the requirements set
forth above, the case may be dismissed.


Dated: 3/8/18



         18-30528-dof       Doc 9     Filed 03/08/18      Entered 03/08/18 14:24:03         Page 1 of 2
                                              BY THE COURT



                                              Katherine B. Gullo , Clerk of Court
                                              U.S. Bankruptcy Court




18-30528-dof   Doc 9   Filed 03/08/18   Entered 03/08/18 14:24:03       Page 2 of 2
